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                              UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT FLORIDA
                                   ORLANDO DIVISION

 DAVID NDALAMBA and STARLINE
 MEDIA, INC.,

                Plaintiffs,

 v.

 ELISHA TRICE,
 JOMY STERLING,                                   C.A. No. 6:20-cv-1210-GAP-GJK
 and STAR STATUS GROUP,

               Defendants.

 JOMY STERLING and STAR STATUS
 GROUP,
          Counterclaimants,

 v.

 DAVID NDALAMBA and TYLER
 GNASS,
          Counterclaim Defendants.

                                NOTICE OF APPEARANCE AND
                              DESIGNATION OF EMAIL ADDRESS

 PLEASE TAKE NOTICE that the undersigned counsel, THOMAS H. STANTON, ESQ, of the

 law firm STANTON IP LAW FIRM, P.A, hereby gives his Notice of Appearance as counsel for

 JOMY STERLING, and STAR STATUS GROUP, Defendants/Counterclaimants in the above-

 styled case and requests that all notices and papers be served upon the undersigned.



 Dated: March 3, 2022




 NOTICE.OF. APPEARANCE
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                                                Respectfully submitted,

                                                 /s/ Thomas H. Stanton
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                                                Florida Bar Member – 127444
                                                Counsel for Defendants/Counterclaimants,
                                                Jomy Sterling & Star Status Group



                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on March 3, 2022, I electronically filed the foregoing with

 the Clerk of the Court using CM/ECF. Copies of the foregoing document will be served upon

 interested counsel either via transmission of Notices of Electronic Filing generated by CM/ECF

 or in some other authorized manner for those counsel or parties who are not authorized to receive

 electronically Notices of Electronic Filing.

                                                /s/ Thomas H. Stanton
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 NOTICE.OF. APPEARANCE
